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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


Erik O. Autor, et al.,

                   Plaintiffs,                        Civil Action No. 1:11-cv-01593-ABJ

       v.

Penny Sue Pritzker, et al.,                           Hon. Amy Berman Jackson

                   Defendants.


                    UNOPPOSED MOTION FOR EXTENSION OF TIME

       Plaintiffs, through undersigned counsel, hereby respectfully move this Court to extend

the time for Plaintiffs to file a motion for attorneys’ fees and costs in this action. In support of

this motion, Plaintiffs state as follows:

1.     Plaintiffs filed this action challenging the government’s policy (the “Lobbyist Ban”) of

excluding federally registered lobbyists from Industry Trade Advisory Committees (“ITACs”).

2.     On January 17, 2014, the D.C. Circuit issued its opinion holding that Plaintiffs stated

claims that the Lobbyist Ban was unconstitutional under the First Amendment and Equal

Protection principles. See Autor v. Pritzker, 740 F.3d 176 (D.C. Cir. 2014). The D.C. Circuit

concluded that Plaintiffs’ claims should be analyzed under the Pickering balancing test and

described the government’s proffered justification for the Lobbyist Ban as “barely intelligible.”

Id. at 184. The Court of Appeals therefore remanded the case for this Court to examine more

closely the government’s justification for the Lobbyist Ban. Id. (suggesting potential inquiries for

this Court).

3.     In reaction to the D.C. Circuit’s decision, the Office of Management and Budget

modified and in relevant part repealed the Lobbyist Ban. See Office of Management and Budget,
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“Revised Guidance on Appointment of Lobbyists to Federal Advisory Committees, Boards, and

Commissions,” 79 Fed. Reg. 47482 (Aug. 13, 2014). Under the revised guidance, “[t]he lobbyist

ban does not apply to lobbyists who are appointed in a ‘representative capacity,’ meaning that

they are appointed for the express purpose of providing a committee with the views of a

nongovernmental entity, a recognizable group of persons or nongovernmental entities … or state

or local government.” Id.

4.      On August 29, 2014, the Defendants applied the revised OMB guidance and issued a new

request for nominations for ITAC members that no longer prohibited registered lobbyists from

applying. See Department of Commerce, “Request for Nominations for the Industry Trade

Advisory Committees (ITACs); Amendment” 75 Fed. Reg. 24584 (Aug. 29, 2014).

5.      On September 3, 2014, Plaintiffs agreed to voluntarily dismiss their Complaint, in light of

the revocation of the Lobbyist Ban as applied to ITACs.

6.      Because the Government repealed the Lobbyist Ban as a result of Plaintiffs’ suit and the

D.C. Circuit’s decision, Plaintiffs intend to file a motion for attorneys’ fees and costs under Fed.

R. Civ. P. 54 and/or 28 U.S.C. § 2412. At this point, the Court has not ordered a conference

regarding attorneys’ fees. See Local Rule 54.2(a).

7.      Plaintiffs request an extension of time to file their motion until October 17, 2014.

Consistent with Local Rule 7(m), undersigned counsel has conferred with counsel for the

government and is authorized to state that the government has no objection to the extension of

time.




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Dated: September 17, 2014


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                                 CERTIFICATE OF SERVICE

       I certify that this document filed through the ECF system will be sent electronically to the

registered participants as identified on the Notice of Electronic Filing and paper copies will be

sent to those indicated as non-registered participants on September 17, 2014.


                                                     s/Charles A. Rothfeld
                                                     Charles A. Rothfeld

                                                     Attorney for Plaintiffs, Erik O. Autor,
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                                                 4                     MOTION FOR EXTENSION OF TIME
